1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF OREGON
                                                                  PORTLAND DIVISION


                   In Re:                                                                          §
                                                                                                   §
                   Impact Medical, LLC                                                             §           Case No. 15-31606-dwh7
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter of the United States Bankruptcy Code was filed on
                    04/02/2015 . The case was converted to one under Chapter 7 on 02/16/2016 . The
                   undersigned trustee was appointed on 02/16/2016 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $               62,500.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                          6,010.56
                                                     Bank service fees                                                                1,169.92
                                                     Other payments to creditors                                                          0.00
                                                     Non-estate funds paid to 3rd Parties                                                 0.00
                                                     Exemptions paid to the debtor                                                        0.00
                                                     Other payments to the debtor                                                         0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $               55,319.52

             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 06/15/2016 and the
      deadline for filing governmental claims was 06/15/2016 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 6,375.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 6,375.00 , for a total compensation of $ 6,375.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 1,122.53 , for total expenses of $ 1,122.53 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 08/09/2018                                     By:/s/AMY MITCHELL
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              15-31606                         DWH             Judge:        David W. Hercher                            Trustee Name:                      AMY MITCHELL
Case Name:            Impact Medical, LLC                                                                                        Date Filed (f) or Converted (c):   02/16/2016 (c)
                                                                                                                                 341(a) Meeting Date:               03/17/2016
For Period Ending:    08/09/2018                                                                                                 Claims Bar Date:                   06/15/2016


                                   1                                                2                            3                            4                          5                             6

                         Asset Description                                        Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                  Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                              Assets
                                                                                                          and Other Costs)

  1. Financial Accounts                                                                         0.00                      0.00                                                       0.00                        FA

     Wells Fargo Bank
     (DIP account)
  2. Accounts Receivable                                                                      470.00                   470.00                                                     300.00                         FA

     Included in multi-asset sale for $62,500. For accounting
     purposes, amount allocated to this asset is $300.
  3. Stock                                                                              40,837.00                     5,000.00                                                3,190.00                           FA

     Parcus Medical Stock
     20 units of stock
     Liquidation value appears to be limited due to restrictions on
     sale of privately held stock. Included in multi-asset sale for
     $62,500. For accounting purposes, amount allocated to this
     asset is $3,190.
  4. Inventory                                                                           Unknown                     85,000.00                                               54,225.00                           FA

     Debtor estimates $120k.
     Several items appear to be obsolete. Approx. 8 full trays,
     remainder is loose/wrapped pieces. Liquidation value
     estimated at $85k.
     Included in multi-asset sale for $62,500. For accounting
     purposes, amount allocated to this asset is $54,225.
  5. Intellectual Property                                                               Unknown                      5,000.00                                                3,190.00                           FA

     510k FDA Clearance for product sales
     Needs to be brought current (some grace period).
     Limited resale value. Estimated at $5,000 (reflects costs to
     bring current).
     Included in multi-asset sale for $62,500. For accounting
     purposes, amount allocated to this asset is $3,190.




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                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                     Exhibit A
Case No:              15-31606                         DWH             Judge:        David W. Hercher                         Trustee Name:                      AMY MITCHELL
Case Name:            Impact Medical, LLC                                                                                     Date Filed (f) or Converted (c):   02/16/2016 (c)
                                                                                                                              341(a) Meeting Date:               03/17/2016
For Period Ending:    08/09/2018                                                                                              Claims Bar Date:                   06/15/2016


                                   1                                                2                         3                            4                          5                             6

                         Asset Description                                        Petition/             Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled         (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                  Values             Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                         Exemptions,                                                                              Assets
                                                                                                       and Other Costs)

  6. Intellectual Property                                                               Unknown                    500.00                                                     320.00                         FA

     Customer contracts and lists
     Limited value (orthopedic surgeons are known, public info)
     Included in multi-asset sale for $62,500. For accounting
     purposes, amount allocated to this asset is $320.
  7. Intellectual Property                                                               Unknown                    500.00                                                     320.00                         FA

     DVT SST machine
     FDA clearance not yet obtained
     Limited value - would take significant investment to obtain
     approval.
     Included in multi-asset sale for $62,500. For accounting
     purposes, amount allocated to this asset is $320.
  8. Office Equipment                                                                    2,000.00                 1,500.00                                                     955.00                         FA

     Misc. office furniture and computer equipment
     Trustee estimates value $1,500, before costs of sale.
     Included in multi-asset sale for $62,500. For accounting
     purposes, amount allocated to this asset is $955.
  9. Note Receivable                                                                    25,062.72                      0.00                                                       0.00                        FA

     Shareholder loan to EJ Duffy - disputed
     Per Mr. Duffy, this reflects withdrawals from company, but is
     not offset with deposits ($250k). Mr. Duffy indicates this was
     not booked as loan and was added into schedules at UST
     request. Does not appear to be an actionable loan.




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                                                                                             FORM 1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES
                                                                                                                                                                                                         Exhibit A
Case No:              15-31606                         DWH               Judge:        David W. Hercher                           Trustee Name:                      AMY MITCHELL
Case Name:            Impact Medical, LLC                                                                                         Date Filed (f) or Converted (c):   02/16/2016 (c)
                                                                                                                                  341(a) Meeting Date:               03/17/2016
For Period Ending:    08/09/2018                                                                                                  Claims Bar Date:                   06/15/2016


                                   1                                                  2                          3                             4                          5                             6

                         Asset Description                                          Petition/              Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                             Unscheduled          (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                    Values              Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                            Exemptions,                                                                               Assets
                                                                                                          and Other Costs)

 10. Preference (u)                                                                             0.00                       0.00                                                       0.00                        FA

     Payments to EJ Duffy
     Salary and expense reimbursement. Most payments were not
     treated as salary (guaranteed payments). It appears they
     were designated as expense reimbursement and then
     unspecified payments, which could be considered loan
     payments for amounts loaned by Mr. Duffy to the Debtor.
     In one year prior to filing, total amounts paid to Mr. Duffy were
     $37,016.13, including approx. $11,121 designated as expense
     reimbursement. During the same period, Mr. Duffy transferred
     a total of $87,850 to the Debtor. There appear to be defenses.
     Payments do not appear to be preferential transfers.

 11. Transfer (u)                                                                          Unknown                         0.00                                                       0.00                        FA

     Possible transfer to insiders (Duffy)
     The payments listed at Asset #10 appear to be defensible
     transfers. Additional amounts were paid to Mr. Duffy outside
     the 1-year preference period. In the two years prior to filing,
     the Debtor paid a total of $213,222 to Mr. Duffy, including
     expense reimbursements. Mr. Duffy transferred a total of
     $305,200 to the Debtor during the same period.
     Debtor paid health insurance premiums that covered Mr. Duffy
     and his wife. Does not appear to be unreasonable expense
     and there was value provided by Mr. Duffy in exchange, as
     well as transfers of funds.
     After consideration of defenses, there do not appear to be
     actionable transfers.


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                       $68,369.72                 $97,970.00                                               $62,500.00                        $0.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


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                                                                                                                             Exhibit A
Initial Projected Date of Final Report (TFR): 12/15/2017    Current Projected Date of Final Report (TFR): 07/01/2018




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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-31606                                                                                                Trustee Name: AMY MITCHELL                                              Exhibit B
      Case Name: Impact Medical, LLC                                                                                           Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX7635
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX2035                                                                                Blanket Bond (per case limit): $78,753,461.00
For Period Ending: 08/09/2018                                                                               Separate Bond (if applicable):


       1                2                              3                                               4                                                     5                  6                     7

Transaction Date    Check or                 Paid To / Received From                       Description of Transaction                Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
   05/27/16                        Impact Medical Partners, LLC              Asset sale proceeds                                                            $62,500.00                               $62,500.00

                                                                             Gross Receipts                             $62,500.00

                        2                                                    Accounts Receivable                          $300.00     1121-000

                        3                                                    Stock                                       $3,190.00    1129-000

                        4                                                    Inventory                                  $54,225.00    1129-000

                        5                                                    Intellectual Property                       $3,190.00    1129-000

                        6                                                    Intellectual Property                        $320.00     1129-000

                        7                                                    Intellectual Property                        $320.00     1129-000

                        8                                                    Office Equipment                             $955.00     1129-000

   07/25/16                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $86.66          $62,413.34
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   08/25/16                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $92.61          $62,320.73
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/26/16                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $92.48          $62,228.25
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   10/25/16                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $89.37          $62,138.88
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/25/16                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $92.21          $62,046.67
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/27/16                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $89.11          $61,957.56
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/25/17                        Union Bank                                Bank Service Fee under 11                                2600-000                                       $91.95          $61,865.61
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)

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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-31606                                                                                               Trustee Name: AMY MITCHELL                                               Exhibit B
      Case Name: Impact Medical, LLC                                                                                         Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX7635
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX2035                                                                              Blanket Bond (per case limit): $78,753,461.00
For Period Ending: 08/09/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                          ($)
   02/27/17                        Union Bank                                Bank Service Fee under 11                               2600-000                                        $92.06          $61,773.55
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/27/17                        Union Bank                                Bank Service Fee under 11                               2600-000                                        $83.04          $61,690.51
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/25/17                        Union Bank                                Bank Service Fee under 11                               2600-000                                        $91.79          $61,598.72
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/12/17            101         International Sureties Ltd.               Bond Premium                                            2300-000                                        $23.64          $61,575.08
                                   701 Poydras St., Suite 420
                                   New Orleans, LA 70139
   05/25/17                        Union Bank                                Bank Service Fee under 11                               2600-000                                        $88.71          $61,486.37
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/26/17                        Union Bank                                Bank Service Fee under 11                               2600-000                                        $91.51          $61,394.86
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/25/17                        Union Bank                                Bank Service Fee under 11                               2600-000                                        $88.42          $61,306.44
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/17/18            102         International Sureties Ltd.               Bond Premium                                            2300-000                                        $19.42          $61,287.02
                                   701 Poydras St., Suite 420
                                   New Orleans, LA 70139
   04/20/18            103         Bennington & Moshofsky PC                 Accountant Fees and                                                                                 $5,967.50           $55,319.52
                                   4800 SW Griffith Dr., Suite 350           Expenses
                                   Beaverton, OR 97005                       Per Order 4/13/18
                                   Bennington & Moshofsky PC                                                          ($5,949.00)    3210-000

                                   Bennington & Moshofsky PC                                                            ($18.50)     3420-000



                                                                                                             COLUMN TOTALS                                 $62,500.00            $7,180.48
                                                                                                                  Less: Bank Transfers/CD's                      $0.00                $0.00
                                                                                                             Subtotal                                      $62,500.00            $7,180.48
                                                                                                                  Less: Payments to Debtors                      $0.00                $0.00

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                                                                         Net                     $62,500.00   $7,180.48


                                                                                                                          Exhibit B




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                                                                                                                                                                     Exhibit B
                                                                                               TOTAL OF ALL ACCOUNTS
                                                                                                                                                NET             ACCOUNT
                                                                                                             NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                           XXXXXX7635 - Checking                                                  $62,500.00               $7,180.48            $55,319.52
                                                                                                                  $62,500.00               $7,180.48            $55,319.52

                                                                                                            (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                    transfers)            to debtors)
                                           Total Allocation Receipts:                              $0.00
                                           Total Net Deposits:                                 $62,500.00
                                           Total Gross Receipts:                               $62,500.00




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                                                 Case 15-31606-dwh7                  Doc 160     Filed 08/20/18
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 15-31606-dwh7                                                                                                         Date: August 9, 2018
Debtor Name: Impact Medical, LLC
Claims Bar Date: 6/15/2016


Code #     Creditor Name And Address          Claim Class       Notes                              Scheduled               Claimed            Allowed
           Amy Mitchell                       Administrative                                           $0.00              $6,375.00          $6,375.00
100        P.O. Box 2289
2100       Lake Oswego, OR 97035




           Amy Mitchell                       Administrative                                             $0.00            $1,122.53          $1,122.53
100        P.O. Box 2289
2200       Lake Oswego, OR 97035




10         United States Trustee              Administrative                                             $0.00             $651.19             $651.19
100        620 SW Main Street
2950       Suite 213                                            ADMIN
           Portland, OR 97205


18A        Bennington & Moshofsky PC          Administrative                                             $0.00            $5,949.00          $5,949.00
100        4800 SW Griffith Dr., Suite 350
3210       Beaverton, OR 97005




18B        Bennington & Moshofsky PC          Administrative                                             $0.00               $18.50             $18.50
100        4800 SW Griffith Dr., Suite 350
3420       Beaverton, OR 97005




12A        Motschenbacher & Blattner LLP      Administrative                                             $0.00          $33,896.50          $33,896.50
150        Attn: Nicholas Henderson
6210       117 Sw Taylor Street Suite 300                       CH 11 ADMIN
           Portland, Or 97204


12B        Motschenbacher & Blattner LLP      Administrative                                             $0.00            $2,061.85          $2,061.85
150        Attn: Nicholas Henderson
6220       117 Sw Taylor Street Suite 300                       CH 11 ADMIN
           Portland, Or 97204


17         ODR BKCY                           Administrative                                             $0.00             $158.33             $158.33
150        PO Box 14725
6820       Salem, OR 97309                                      CH 11 ADMIN




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                                             Case 15-31606-dwh7             Doc 160     Filed 08/20/18
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 15-31606-dwh7                                                                                                                 Date: August 9, 2018
Debtor Name: Impact Medical, LLC
Claims Bar Date: 6/15/2016


Code #     Creditor Name And Address          Claim Class       Notes                                       Scheduled             Claimed             Allowed
16B        Sarah Burkitt                      Administrative                                                    $0.00           $45,499.97          $45,499.97
150        718 NW 118th
6990       Suite 102                                            Ch. 11 Admin Wage Claim:
           Portland, OR 97229                                   Gross distribution on claim = $26,296.96
                                                                Fed W/H (22%) = $5,785.33
                                                                SS-Employee (6.2%) = $1,630.41
                                                                Medicare-Employee (1.45%) = $381.31
                                                                OR W/H (9%) = $2,366.73
                                                                OR TTax (.1%) = $26.30
                                                                Net Payment = $16,106.88




1          Medin Corporation                  Unsecured                                                      $3,068.90            $3,068.90          $3,068.90
300        Coface North America Insurance
7100       Co
           50 Millstone Rd Bldg 100 #360
           East Windsor, Nj 08520

2          IRS                                Unsecured                                                          $0.00                $0.00              $0.00
300        PO Box 7317
7100       Philadelphia PA 19101                                Amended to $0




3          Finishing Innovations              Unsecured                                                      $1,343.04            $1,343.04          $1,343.04
300        5100 Wheelis Dr., #210
7100       Memphis, TN 38117




4          United Parcel Service              Unsecured                                                       $827.38              $827.38             $827.38
300        C/O Receivable Management
7100       Services ("Rms
           P.O. Box 4396
           Timonium, Md 21094

5          Custom Wire Technologies Inc       Unsecured                                                     $10,509.90          $10,509.90          $10,509.90
300        C/O Katherine M Omalley
7100       1000 North Water St #1700
           Milwaukee, Wi 53202


6          Tigard Sub LLC                     Unsecured                                                     $15,126.75          $15,126.75          $15,126.75
300        C/O Joel Parker
7100       1211 SW 5Th Ave Suite 1900                           10110 SW Nimbus, Suite B6
           Portland OR 97204


7          Dr. Richard Edelson                Unsecured                                                    $307,526.19         $307,526.19         $307,526.19
300        C/O Douglas R. Pahl
7100       Perkins Coie Llp                                     Promissory note
           1120 N.W.Couch St., 10Th Fl.
           Portland, Or 97209



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                                            Case 15-31606-dwh7                  Doc 160         Filed 08/20/18
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 15-31606-dwh7                                                                                                                               Date: August 9, 2018
Debtor Name: Impact Medical, LLC
Claims Bar Date: 6/15/2016


Code #     Creditor Name And Address          Claim Class        Notes                                                  Scheduled                 Claimed           Allowed
8          Knight Mechanical Testing Llc      Unsecured                                                                $19,690.00               $19,690.00        $19,690.00
300        3205 Clairmont Court
7100       Suite B
           Fort Wayne, In 46808


9          Minimachine                        Unsecured                                                                $20,587.43               $20,587.43        $20,587.43
300        63003 Plateau Dr.
7100       Bend, Or 97701




11         Finishing Innovations, Llc         Unsecured                                                                      $0.00               $1,342.56         $1,342.56
300        5101 Wheelis Drive
7100       Suite 210                                             appears to duplicate #3 - object if distribution to unsecured, non-priority
           Memphis, Tn 38117-4536


13         PAQISM International               Unsecured                                                                  $2,300.00               $4,500.00         $4,500.00
300        West Gohad Pur,51360
7100       Sialkot Pakistan.




14         Impact Medical Partners,Llc        Unsecured                                                                      $0.00               $4,500.00         $4,500.00
300        Po Box 25421
7100       Portland, Or 97298                                    If distribute to unsecured, obj - duplicate of #13 (creditor entered debtor entity name, not own name on
                                                                 electronic POC filing). USBC unable to strike document.




15         NW NATURAL                         Unsecured                                                                    $146.60                $146.60            $146.60
300        220 NW 2nd Ave
7100       Portland, OR 97209




16A        Sarah Burkitt                      Unsecured                                                                $36,667.00               $30,333.31        $30,333.31
300        718 NW 118th
7100       Suite 102                                             non-Admin
           Portland, OR 97229


           Case Totals                                                                                                $417,793.19              $515,234.93       $515,234.93
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 15-31606-dwh7
     Case Name: Impact Medical, LLC
     Trustee Name: AMY MITCHELL
                         Balance on hand                                              $               55,319.52

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: Amy Mitchell                      $         6,375.00 $                0.00 $         6,375.00
      Trustee Expenses: Amy Mitchell                  $         1,122.53 $                0.00 $         1,122.53
      Attorney for Trustee Fees: Bennington &
      Moshofsky PC                                    $         5,949.00 $         5,949.00 $                 0.00
      Accountant for Trustee Expenses:
      Bennington & Moshofsky PC                       $               18.50 $         18.50 $                 0.00
      Fees: United States Trustee                     $           651.19 $                0.00 $          651.19
                 Total to be paid for chapter 7 administrative expenses               $                  8,148.72
                 Remaining Balance                                                    $               47,170.80


               Applications for prior chapter fees and administrative expenses have been filed as follows:

                                                                           Interim Payments
                         Reason/Applicant             Total Requested      to Date          Proposed Payment
      Prior Chapter Other State or Local Taxes:
      ODR BKCY                                        $           158.33 $                0.00 $             91.51
      Prior Chapter Attorney for Trustee/DIP
      Expenses (Other Firm): Motschenbacher &
      Blattner LLP                            $                 2,061.85 $                0.00 $         1,191.66




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                                                                          Interim Payments
                         Reason/Applicant             Total Requested     to Date          Proposed Payment
      Prior Chapter Attorney for Trustee/DIP Fees
      (Other Firm): Motschenbacher & Blattner
      LLP                                         $            33,896.50 $                  0.00 $    19,590.67
      Other Prior Chapter Administrative
      Expenses: Sarah Burkitt                         $        45,499.97 $                  0.00 $    26,296.96
                 Total to be paid for prior chapter administrative expenses             $             47,170.80
                 Remaining Balance                                                      $                   0.00


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 419,502.06 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount         Interim Payments Proposed
     Claim No.            Claimant                     of Claim               to Date          Payment
     1                    Medin Corporation          $         3,068.90 $                0.00 $             0.00
     2                    IRS                        $              0.00 $               0.00 $             0.00
     3                    Finishing Innovations      $         1,343.04 $                0.00 $             0.00
     4                    United Parcel Service      $           827.38 $                0.00 $             0.00
                          Custom Wire Technologies
     5                    Inc                      $          10,509.90 $                0.00 $             0.00




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                                  Case 15-31606-dwh7        Doc 160      Filed 08/20/18
                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     6                    Tigard Sub LLC               $      15,126.75 $              0.00 $               0.00
     7                    Dr. Richard Edelson          $     307,526.19 $              0.00 $               0.00
                          Knight Mechanical Testing
     8                    Llc                       $         19,690.00 $              0.00 $               0.00
     9                    Minimachine                  $      20,587.43 $              0.00 $               0.00
     11                   Finishing Innovations, Llc   $       1,342.56 $              0.00 $               0.00
     13                   PAQISM International         $       4,500.00 $              0.00 $               0.00
                          Impact Medical
     14                   Partners,Llc                 $       4,500.00 $              0.00 $               0.00
     15                   NW NATURAL                   $         146.60 $              0.00 $               0.00
     16A                  Sarah Burkitt                $      30,333.31 $              0.00 $               0.00
                 Total to be paid to timely general unsecured creditors               $                     0.00
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.




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            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                         NONE




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